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IN THE UNITED sTATEs coURT oF APPEALS'"H~'!€
FOR THE FIFTH CIRCUIT 4 4 -4 444 44

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No. 13-10812

In re: JUAN ANTHONY REYES, JR.,

Movant

Motion for an order authorizing
the United States District Court for the Northern .
District of Texas to consider
a successive 28 U.S.C. § 2255 motion

Before HIGGINBOTHAM, DENNIS, and PRADO, Circuit Judges.
PER CURlAM:

Juan Anthony Reyes, Jr., federal prisoner # 31910-177, requests
authorization to file a successive 28 U.S.C. § 2255 motion, challenging his
conviction for distribution of methamphetamine and aiding and abetting and
his 235-month term of imprisonment Reyes seeks to raise the following claims
in a successive § 2255 motion: (1) his trial counsel was ineffective in failing to
argue that he had only one qualifying offense for purposes of a career offender
enhancement under the Sentencing Guidelines, (2) his appellate counsel was
ineffective in failing to challenge the career offender enhancement on appeal,
(3) his appellate counsel abandoned him on appeal, and (4) his counsel
rendered ineffective assistance in his § 2255 proceeding in failing to challenge

the career offender enhancement and in failing to raise a claim of ineffective

 

 

assistance of appellate counsel. §';"~{-1;}§§1\,"€4,

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This court may authorize the Eling of a second or successive § 2255
motion only if the movant makes a prima facie showing that his claims rely on
either (1) “newly discovered evidence that, if proven and viewed in light of the
evidence as a whole, would be sufficient to establish by clear and convincing §
evidence that no reasonable factfinder would have found the movant guilty of
the offense” or (2) “a new rule of constitutional law, made retroactive to cases
on collateral review by the Supreme Court, that was previously unavailable.”
§ 2255(h); see 28 U.S.C. § 2244(b)(3)(C). Reyes argues that he should be
granted authorization to file a successive § 2255 motion based on the Supreme
Court decisions in Descamps v. United States, 133 S. Ct. 2276 (2013); Alleyne
v. United States, 133 S. Ct. 2151 (2013); Martinez v. Ryan, 132 S. Ct. 1309
(2012); and Maples v. Thomas, 132 S. Ct. 912 (2012). `

In Martinez, 132 S. Ct. at 1320, the Court held that “a procedural default
will not bar a federal habeas court from hearing a substantial claim of
ineffective assistance at trial if, in the initial-review collateral proceeding,
there was no counsel or counsel in that proceeding was ineffective.” “Martinez
does not provide a basis for authorization under § 2244(b)(2)(A), as the Court’s
decision was an ‘equitable ruling’ that did not establish ‘a new rule of
constitutional law.’” Adams u. Thaler, 679 F.3d 312, 323 n.6 (5th Cir. 2012)
(quoting Martinez, 132 S. Ct. at 1319).

Descamps determined that a court cannot employ a modified categorical
approach in interpreting a statute that contains “a single, ‘indivisible’ set of
elements sweeping more broadly than the corresponding generic offense.” 133
S. Ct. at 2283. The Court relied on its existing case law and gave no indication
that it was announcing a new rule of constitutional law that was to be applied

retroactively. See id. at 2282-89.

 

 

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In Alleyne, the Court relied on Apprendi v. New Jersey, 530 U.S. 466
(2000), in determining that the defendant had a Sixth Amendment right to
have a jury determine whether he had “brandished” a firearm during an
offense, a factfinding that raised his minimum mandatory sentence from five
to seven years. 133 S. Ct. at 2163. Apprendi has not been made retroactively
applicable on collateral review. See Foster v. Qu,arterman, 466 F.3d 359, 369-
7 0 (5th Cir. 2006). Reyes has not shown that Alleyne announced a new rule of
constitutional law or that the Supreme Court made its holding retroactively
applicable on collateral review. See In. re Kemper, __ F.3d ___, No. 13-50695,
2013 WL 5969009, *1 (5th Cir. Sept. 6, 2013). Moreover, Reyes has not shown
that Alleyne is relevant to his assertion of error because he cannot show that
the enhancement under the Sentencing Guidelines increased the “legally
prescribed punishment.” Alleyne, 133 S. Ct. at 2162.

Even if Maples set forth a retroactively applicable new rule of
constitutional law, a showing that Reyes has not made, Reyes has not
demonstrated that Maples is applicable to any of his proposed claims. See
§ 2255(h). Thus, Reyes has failed to make the required prima facie showing.
See id.

To the extent that Reyes asserts a freestanding claim of actual
innocence, the claim is not cognizable in a § 2255 motion. See In re Swearingen,
556 F.3d 344, 348 (5th Cir. 2009). To the extent that there is an actual
innocence exception to the requirements of§ 2255(h) and § 2244(b)(3), Reyes’s
argument concerning his career offender enhancement does not show that he
is factually innocent of his offense of conviction. See McQuiggin v. Perkins, 133
S. Ct. 1924, 1933-34 (2013); Schlup v. Delo, 513 U.S. 298, 327-29 (1995).

IT IS ORDERED that Reyes’s motion for authorization to file a
successive § 2255 motion is DENIED. imm § "

 

 

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Um`ted States Court of Appeals

FIFTH CIRCUIT
OFFICE OF THE CLERK

LYLE W. CAYCE TEL. 504-310-7700
CLERK 600 S. MAESTRI PLACE
NEW ORLEANS, LA 70130

December 10, 2013
MEMORANDUM TO COUNSEL OR PARTIES LlSTED BELOW:
NO. 13~10812» In re: Juan ReyeS, Jr.

USDC NO. 5213-CV~173

Enclosed is an erder entered in this case.

Sincerely,

LYLE W. CAYCE, Clerk

By:
Claudia N. Farrington, Deputy Clerk
504-310-7706

 

MS. Karen S. Mitchell
Mr. Juan Anthony Reyes Jr.

 

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